       Case 8:20-cv-00993-WLH-ADS                          Document 727                Filed 03/19/25   Page 1 of 1 Page ID
                                                                #:29720




                                               UNITED STATES DISTRICT COURT
                                              CENTRAL DISTRICT OF CALIFORNIA
Netlist Inc.,                                                               CASE NUMBER


                                                                                             8:20-cv-00993-MCS-ADS
                                         PLAINTIFF(S)/PETITIONER(S)
                                    v.
Samsung Electronics Co., Ltd.,
                                                                                            ORDER TO REASSIGN CASE
                                                                                             DUE TO SELF-RECUSAL
                                    DEFENDANT(S)/RESPONDENTS(S)


        The undersigned Judge, to whom the above-entitled case was assigned, is hereby of the opinion that he
or she should not preside over said case, by reason of (please use additional sheets if necessary) :
The judge's impartiality might reasonably be questioned. 28 U.S.C. § 455(a), (b)(5).




      IT IS HEREBY ORDERED that this case be reassigned by the Clerk in accordance with this Court's
General Order in the Matter of Assignment of Cases and Duties to District Judges.
          This self-recusal has been Ordered:
                    within 120 days of the Court being assigned said case.
                •   after 120 days of the Court being assigned said case.

          March 19, 2025                                                        Mark C. Scarsi
          Date                                                                  United States District Judge



                                              NOTICE TO COUNSEL FROM CLERK


        This case has been reassigned to Judge                  Wesley L. Hsu                                   . On all documents
subsequently filed in this case, please substitute the initials         WLH                             after the case number in
place of the initials of the prior judge so that the case number will read:                        8:20-cv-00993 WLH(ADSx)           .

          This is very important because documents are routed to the assigned judge by means of the initials.




cc:       Previous Judge          Statistics Clerk


CV-52 (06/23)                                         ORDER TO REASSIGN CASE DUE TO SELF-RECUSAL
